Case 1:21-md-02989-CMA Document 490 Entered on FLSD Docket 06/17/2022 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

   This Document Relates to the Other Broker Tranche

                                              ORDER

            THIS CAUSE came before the Court on Defendant, Apex Clearing Corporation’s Motion

   for Expansion of Page Limitations for Briefing on its Motion to Dismiss Plaintiffs Chavez and

   Jang’s Amended Class Action Complaint [ECF No. 487]. The Court being fully advised, it is

            ORDERED AND ADJUDGED that Defendant, Apex Clearing Corporation’s Motion for

   Expansion of Page Limitations for Briefing on its Motion to Dismiss Plaintiffs Chavez and Jang’s

   Amended Class Action Complaint [ECF No. 487] is GRANTED. Any motion to dismiss shall

   not exceed 50 pages. Plaintiffs’ response to that motion shall not exceed 50 pages. Defendant’s

   reply shall not exceed 25 pages.

            DONE AND ORDERED in Miami, Florida, this 16th day of June, 2022.



                                                 ________________________________________
                                                 CECILIA M. ALTONAGA
                                                 CHIEF UNITED STATES DISTRICT JUDGE

   cc:      counsel of record
